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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
CABLE FIRST CONSTRUCTION INC., et al.,

                                   Plaintiffs,
                 -against-                                               20 CIVIL 5894 (AKH)
                                                                         20 CIVIL 6679 (AKH)

LEPETIUK ENGINEERING CORP., et al.,                                        JUDGMENT
                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated January 27, 2021, case number 20-cv-5894, is dismissed without

prejudice and without costs; Dmytro Lepetiuk is dismissed as a party in 20-cv-6679, with prejudice

and with costs, taxed by the Clerk.

Dated: New York, New York
          January 28, 2021


                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
